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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES                                     *
vs.                                               *    Case No.: 22-15 APM
THOMAS E. CALDWELL                                *
         *      *       *      *      *       *        *      *        *       *     *
             UNOPPOSED REQUEST TO MODIFY CONDITIONS OF RELEASE

         COMES NOW, the Defendant, Thomas E. Caldwell, by and through his attorney, David

W. Fischer, Esq., and respectfully requests that the Court modify the conditions of release in this

matter, and in support of said motion states as follows:

      1. Assistant U.S. Attorney Kathryn Rakoczy does not oppose the instant request.

      2. The wife of a close friend of the Defendant’s recently passed away from cancer. The

         Defendant requests permission to attend a viewing service for the deceased at the

         Oakrum Baptist Church located at 16419 Thoroughfare Road, Broad Run, VA 20137,

         and a reception immediately following the viewing with the family and friends of the

         deceased, on June 3, 2022 from 5:00 p.m. to 12:00 midnight.

      WHEREFORE, the Defendant respectfully requests that the Court modify the Defendant’s

conditions of release to allow him to attend a viewing and reception on June 3, 2022 from 5:00

p.m. to 12:00 midnight.



                                                                 /s/
                                                       David W. Fischer, Esq.
                                                       Federal Bar No. 023787
                                                       Law Offices of Fischer & Putzi, P.A.
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                                                       (410) 787-0826
                                                       Attorney for Defendant
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                                CERTFICATE OF SERVICE
       I HEREBY CERTIFY that on this 26th day of May, 2022, a copy of the foregoing
Unopposed Motion to Modify Conditions of Release was electronically filed with the Clerk of
the United States District Court using CM/ECF, with a notice of said filing to the following:

Counsel for the Government:                 Office of the United States Attorney
                                            555 4th Street, NW
                                            Washington, DC 20001

                                                           /s/
                                                   David W. Fischer, Esq.
